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     1 Samuel Watkins, Esq. (State Bar No. 272162)
       swatkins@tocounsel.com
     2 THEODORA ORINGHER PC
       10880 Wilshire Boulevard, Suite 1700
     3 Los Angeles, California 90024-4101
       Telephone: (310) 557-2009
     4 Facsimile: (310) 551-0283
     5 Attorneys for Plaintiffs Coach, Inc. and
       Coach Services, Inc.
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     8                       UNITED STATES DISTRICT COURT
     9        CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
   10
   11 COACH, INC. a Maryland Corporation;         Case No. CV11-10787 MMM (PJWx)
      and COACH SERVICES, INC., a                 Honorable Margaret M. Morrow
   12 Maryland Corporation,                       Court Room 780
   13               Plaintiffs,                   [PROPOSED] CONSENT
                                                  JUDGMENT AGAINST
   14         vs.                                 DEFENDANTS CELCO CUSTOMS
                                                  SERVICE CO. AND SHEN HUEI
   15 CELCO CUSTOMS SERVICE CO., a                FENG WANG, aka “CELINE”
      California Corporation; SHEN HUEI           WANG
   16 FENG WANG, aka “CELINE” WANG,
      an individual; and DOES ONE through
   17 TEN, inclusive,
   18               Defendants.
   19
   20                               CONSENT JUDGMENT
   21         Plaintiffs Coach, Inc. and Coach Services, Inc. (collectively “Coach” or
   22 “Plaintiff”), and Defendants Celco Customs Service Co. and Shen Huei Feng Wang,
   23 a.k.a. “Celine” Wang, (collectively “Defendants”), having settled this action on terms
   24 agreeable to all parties, it is hereby ORDERED, ADJUDGED and DECREED as
   25 follows:
   26         1.    Judgment is hereby entered against Defendants in the amount of
   27 $8,000,000.00 in statutory damages under the Lanham Act, 15 U.S.C. § 1117(c), in
   28 accordance with the terms of the Settlement Agreement entered into by the parties.
         953842.1/22199.05003
                                               1                 CV11-10787 MMM (PJWx)
           [PROPOSED] CONSENT JUDGMENT AGAINST DEFENDANTS CELCO CUSTOMS SERVICE CO. AND
                               SHEN HUEI FENG WANG, aka “CELINE” WANG
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     1         2.        Defendants are jointly and severally liable for payment of the $8,000,000
     2 in statutory damages awarded to Plaintiff herein.
     3         3.        The Court shall retain jurisdiction to enforce this Consent Judgment.
     4         4.        The parties shall bear their own costs and attorneys’ fees.
     5         5.        This Consent Judgment constitutes a Final Judgment pursuant to Federal
     6 Rule of Civil Procedure 58.
     7 DATED: July 23, 2014
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   10
                                                   Honorable Margaret M. Morrow
   11
                                                   UNITED STATES DISTRICT JUDGE
   12
         CONSENTED TO:
   13
         DATED: July ___, 2014              THEODORA ORINGHER PC
   14
   15
                                            By: ______________________________________
   16                                           Samuel Watkins
   17                                           Attorneys for Plaintiffs Coach, Inc. and Coach
                                                Services, Inc.
   18
         DATED: July ___, 2014              STEPHENS FRIEDLAND LLP
   19
   20
                                            By: ______________________________________
   21
                                                John B. Stephens
   22                                           Attorneys for Defendants Shen Huei Feng Wang,
   23                                           a.k.a., “Celine” Wang, and Celco Customs
                                                Service Co.
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           953842.1/22199.05003
                                                  2                    CV11-10787 MMM (PJWx)
            [PROPOSED] CONSENT JUDGMENT AGAINST DEFENDANTS CELCO CUSTOMS SERVICE CO. AND
                                SHEN HUEI FENG WANG, aka “CELINE” WANG
